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Instructions for Completing the Electronic Version of the Eleventh Circuit
Transcript Information Form
An electronic version of the Transcript Order Information Form is available on the Northern
District of Florida website. The following instructions and guidance are provided:

1.     Click on the link below to obtain the Transcript Order Information Form from the
       Northern District of Florida website:

       http://www.flnd.uscourts.gov/forms/Attorney/ECCA_transcript_form_fillable.pdf

2.      Complete the form electronically using Adobe Acrobat or other PDF editor. The form
       should be signed using the s/ name convention for electronic signatures.

3.     Save the completed form as a PDF document (using the full version of Adobe Acrobat,
       PDF 995, etc.) or “print” the completed form to a PDF file (using programs which only
       have PDF print capabilities). The save option is preferred since it then allows the court
       reporter to complete their portions electronically.

4.     File the form electronically with the district court using the CM/ECF system. From the
       main CM/ECF menu select:

       Civil or Criminal Events; Appeal Documents; Transcript Request Appeal Part I

5.     After the transcript information form is e‐filed, use the notice of electronic filing to
       access the PDF image of the form and print it for the following step. This version of the
       document contains the case number, filing date, and document number information in a
       header along the top, if you have that feature enabled.

6.     Mail the printed form to the Eleventh Circuit Court of Appeals; 56 Forsyth Street NW,
       Atlanta, GA 30303.

7.     Your transcript information form will automatically be e‐mailed to the court reporter
       when the form is e‐filed with the court. Follow the prompts during the event. ***
       Please note, if the court reporter is a contract reporter, a hard copy of the form will
       need to be mailed to that particular reporter.
